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                 EXHIBIT A
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                                                                  McKesson US Pharma PPV customers with controlled ordering in Cherokee Nation counties in Oklahoma
                                                                                                   January 1, 2006 - June 30, 2018

DEA number                Ship to customer name                        Address                                City                           County                          State        Zip code
AE2011055                 EUFAULA IND HLTH CTR IHS                     800 FOREST AVENUE                      EUFAULA                        MCINTOSH COUNTY                 OK           0000074432
AI5778925                 USPHS CLAOPIHSOPNMKTNET30                    101 S MOORE AVENUE                     CLAREMORE                      ROGERS COUNTY                   OK           0000074017
AU2011360                 CHEROKE NAT SAM HIDER IHS                    859 E MELTON DR                        JAY                            DELAWARE COUNTY                 OK           0000074346
AU4591601                 USPHS,WW HASTINGS IP IHS                     100 SOUTH BLISS AVE                    TAHLEQUAH                      CHEROKEE COUNTY                 OK           0000074464
AV4592742                 VA MED CENTER MUSKOGEE                       1011 HONOR HGT PHY 1C2F                MUSKOGEE                       MUSKOGEE COUNTY                 OK           0000074401
AV8770023                 VA OP CLINIC-TULSA                           9322 EAST 41ST STREET                  TULSA                          TULSA COUNTY                    OK           0000074145
BB6292902                 BEARSKIN HEALTH CLI IHS                      1 TURTLE DRIVE/PO BOX 30               WYANDOTTE                      OTTAWA COUNTY                   OK           0000074370
BC0363248                 SALINA COMM CLN PHCY IHS                     900 OWEN WALTERS BLVD                  SALINA                         MAYES COUNTY                    OK           0000074365
BC6533473                 WILL ROGERS HLTHCARE IHS                     1020 LENAPE DRIVE                      NOWATA                         NOWATA COUNTY                   OK           0000074048
BI2946525                 IND HLTHCR RESRCE CTR IHS                    550 S. PEORIA                          TULSA                          TULSA COUNTY                    OK           0000074120
BK9830147                 KOWETA IND HLTH FAC IHS                      31870 E. HIGHWAY 51                    COWETA                         WAGONER COUNTY                  OK           0000074429
BM7357711                 THREE RIVERS HLT CTR IHS                     1001 S. 41ST STREET\, EAST             MUSKOGEE                       MUSKOGEE COUNTY                 OK           0000074403
BN7490307                 NORTHEASTERN TRIB HLT-IHS                    7600 S HWY 69A                         MIAMI                          OTTAWA COUNTY                   OK           0000074354
BO1421700                 OK VETS CT/CLAREMORE SVH2                    3001 W BLUE STARR DRBX988              CLAREMORE                      ROGERS COUNTY                   OK           0000074018
BR3224324                 REDBIRD SMITH HLT CTR IHS                    301 SOUTH J.T. STITES                  SALLISAW                       SEQUOYAH COUNTY                 OK           0000074955
BS5435361                 BEARSKIN HEALTH CLI IHS                      1 TURTLE DRIVE/PO BOX 30               WYANDOTTE                      OTTAWA COUNTY                   OK           0000074370
BW4385159                 WILMA P MANKILLER HLT IHS                    ROUTE 6 BOX 840                        STILWELL                       ADAIR COUNTY                    OK           0000074960
FB3497799                 BEARSKIN HEALTH CLI IHS                      1 TURTLE DRIVE/PO BOX 30               WYANDOTTE                      OTTAWA COUNTY                   OK           0000074370
FC1099286                 CHEROHASTIPIHSOPNMKTNET30                    100 SOUTH BLISS AVE                    TAHLEQUAH                      CHEROKEE COUNTY                 OK           0000074464
FC2742131                 CHEROKE CRCIHS OPNMKTNT30                    1001 S. 41ST STREET\, EAST             MUSKOGEE                       MUSKOGEE COUNTY                 OK           0000074403
FC3462037                 CHEROKEE NTN VINITAHCIHS                     27371 S 4410 RD                        VINITA                         CRAIG COUNTY                    OK           0000074301
FC5273381                 COOWEESCOOWEE HLTH IHS                       395200 W 2900 RD                       OCHELATA                       WASHINGTON COUNTY               OK           0000074051
FC5441807                 CHEROKE NAT WHAST URG IHS                    100 S BLISS AVE                        TAHLEQUAH                      CHEROKEE COUNTY                 OK           0000074464

Sources:
[1] McKesson US Pharma data.
[2] US Department of Veterans Affairs, "ppvEligibilityListing.xlsx".

Note:
[1] Cherokee Nation counties in Oklahoma defined as Adair, Cherokee, Craig, Delaware, Mayes, McIntosh, Muskogee, Nowata, Ottawa, Rogers, Sequoyah, Tulsa, Wagoner, Washington counties.
